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                                                                  Settlement Date: October 1st, 2015
                                                                  Time: 12:00 Noon

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:                                                            Chapter 13
                                                                  Case No. 11-15686 JLG
MARIA DOROTHY STROHBEHN,
                                                                  NOTICE OF SETTLEMENT
                                         Debtor(s)
- - -- - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

FAILURE TO RESPOND MAY LEAD TO A DISMISSAL OF YOUR CASE

              PLEASE TAKE NOTICE, that an Order, a true copy of which is annexed hereto,

will be presented for signature to the Hon. James L. Garrity, Jr., United States Bankruptcy Judge,

on the 1st day of October, 2015 at 12:00 noon in the Judge's Chambers, United States

Bankruptcy Court, U.S. Customs House, One Bowling Green, New York, New York 10004.

                    Hearings on objections will be scheduled upon the receipt of written objections or

counterorders to be submitted to chambers by no later than close of business on the business day

prior to settlement.

                    OBJECTIONS TO PROPOSED ORDER:

                    All objections to a proposed order MUST HAVE the settlement date of the

original notice typed or written on the first page in the upper right-hand corner of the document.

                    COUNTER-PROPOSED ORDERS:

                    All counter-proposed orders should be clearly denominated as such, with the

return date of the original proposed order in the upper right-hand corner of the first page. A copy
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of the transcript, if a hearing was held, must be submitted with the counter-proposed order.

Dated: White Plains, New York
       September 1st, 2015
                                                    /s/ Jeffrey L. Sapir________
                                                    Jeffrey L. Sapir (JLS0938)
                                                    Chapter 13 Trustee
                                                    399 Knollwood Road
                                                    White Plains, New York 10603
                                                    Chapter 13 Tel. No. 914-328-6333



TO:    United States Trustee
       201 Varick Street #1006
       New York, New York 10014

       Maria Dorothy Strohbein
       200 Water Street # 1718
       New York, New York 10038
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:                                                                  Chapter 13
                                                                        Case No. 11-15686 JLG
MARIA DOROTHY STROHBEHN,


                                                    Debtor
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                              ORDER DISMISSING CHAPTER 13 CASE

                    The Court finds that cause exists to dismiss this case under

11 U.S.C. §1307(c)(1) in that the debtor has caused unreasonable delay that is prejudicial to

creditors.

                    The Court further finds that cause exists to dismiss this case under 11 U.S.C.

 §1307(c )(6) in that the debtor has failed to remain current in payments to the trustee under a

 confirmed plan;

                    IT IS HEREBY ORDERED THAT:

                    Pursuant to 11 U.S.C. §1307(c )(1) and (c )(6), this Chapter 13 case is hereby

dismissed.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:
                                                                   Chapter 13
                                                                   Case No. 11-15686 JLG
MARIA DOROTHY STROHBEHN,
                                                                   TRUSTEE’S AFFIDAVIT
                                                    Debtor
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

STATE OF NEW YORK     )
COUNTY OF WESTCHESTER )                            ss.:

                    Jeffrey L. Sapir, being duly sworn, deposes and says:

                    1.        He is the standing Chapter 13 Trustee.

                    2.        The debtor filed a Chapter 13 proceeding on December 12th, 2011.

                    3.        The debtor failed to comply with the provisions of 11 U.S.C. §1307(c )(1)and

(c )(6).

                    4.        The debtor has failed to comply with the Order Confirming Plan dated

October 24th, 2013 whereby the debtor must remit monthly payments of $1,387.98 for 60 months

plus tax refunds.

                    5.        The debtor has paid the trustee the sum of $55,519.20 to date.

                    6.        The debtor is $5,551.92 in arrears in plan payments to the trustee.

                    7.        There exists a material default in this confirmed plan.

                    8.        The debtor has created unreasonable delay that is prejudicial to creditors.
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               WHEREFORE, the trustee respectfully requests that the annexed order dismissing

this case, be signed.

                                                                /s/ Jeffrey L. Sapir
                                                                Jeffrey L. Sapir

Sworn to before me this
1st day of September, 2015

/s/ Jody L. Kava
Jody L. Kava
Notary Public, State of New York
No. 02KA4836806
Qualified in Westchester County
Term Expires: 10/31/17
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:                                                                  Chapter 13
                                                                        Case No. 11-15686 JLG
MARIA DOROTHY STROHBEHN,

                                                    Debtor
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                                        AFFIDAVIT OF MAILING

STATE OF NEW YORK                                  )
COUNTY OF WESTCHESTER                              ) ss.:

                    Lois Rosemarie Esposito, being duly sworn, deposes and says:

                    I am not a party to the action herein, I am over the age of 18 years and reside in the

County of Westchester, State of New York.

                    On September 1st, 2015 I served a true copy of the within document, to the herein

listed parties at the address(es) designated for that purpose, by mailing same in a properly sealed

envelope with postage prepaid thereon, in an official depository of the United States Postal Service

within the State of New York to the following:

TO:       United States Trustee
          201 Varick Street #1006
          New York, New York 10014
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       Maria Dorothy Strohbein
       200 Water Street # 1718
       New York, New York 10038




                                                                /s/ Lois Rosemarie Esposito
                                                                Lois Rosemarie Esposito
Sworn to before me this
1st day of September, 2015

Jeffrey L. Sapir
Jeffrey L. Sapir
Notary Public, State of New York
No. 02SA8764500
Qualified in Rockland County
Term Expires: 12/31/18
